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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA                            RECEIVED
                             NORTHERN DIVISION
                                                                               1011 FEB -8 P 4:49
AARON L. THORN
                                                                               DEBRA P. HACKETT, CLK
       Plaintiff,
                                                                      .                      COURT
V.                                                       c'   No .        '_     VflLTTThSTR1CT ALA

THE CITY OF MONTGOMERY; J.R CULLEN,
In his individual capacity as a police officer with
The City of Montgomery Police Department,                     DEMAND FOR JURY TRIAL

       Defendants.

                                       COMPLAINT

       COMES NOW, Plaintiff Aaron L. Thom, by and through his undersigned

counsel, and for want of prosecution, files this complaint in the above-styled cause:

                        THE PARTIES, JURISDICTION AND VENUE

        1.     Plaintiff is over the age of nineteen (19) years and a resident of Staten

Island, New York. All actions complained of herein by the plaintiff against the

defendants occurred in Montgomery County, Alabama.

       2.      Defendant City of Montgomery is a municipality, duly organized and

existing pursuant to the laws of the State of Alabama.

        3.     Upon information and belief, Defendant J. R. Cullen is over the age of

nineteen (19) years and is a resident of Montgomery County, Alabama and a citizen of

the United States. At all times material hereto, Defendant Cullen is employed as a police

officer with the City of Montgomery, Alabama and is being sued in his individual

capacity. At all times material hereto, the actions of Defendant Cullen, as complained of

herein, occurred within the line and scope of his employment with the City of

Montgomery.
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         4.    Defendants' actions as complained of herein and which proximately

caused the plaintiffs damages occurred within Montgomery County, Alabama.

Defendants City of Montgomery and J.R. Cullen are subjected to this Court's

jurisdiction. Jurisdiction of this court is invoked pursuant to, and in accordance with, the

provisions of Title 28 U.S.C. § 1331 and 1343 this being an action to redress for

damages and there being a federal question, Specifically pertaining to the plaintiff's civil

rights as secured and guaranteed by the Constitution and laws of the United States of

America as enforced through Title 42 U.S.C. § 1983. The plaintiff invokes the court's

pendent jurisdiction to hear his claims pled herein that arise solely under Alabama state

law.

         5.    Venue properly in this judicial district pursuant to Title 28 U.S. C. §

1391(b).

                                                 ilL

                                   ALLEGATIONS OF FACT

         6.     On or about March 01, 2015, the plaintiff avers that he was a business

invitee to the premises of Waffle House, Inc., doing business as Waffle House Store

Number 576, located at 5180 Carmichael Road, Montgomery, Alabama 36106.

         7.    Plaintiff avers that as a business invitee, he was lawfully on the premises

of Waffle House, patronizing the business establishment. The plaintiff further avers that

he complained to management and staff about the services being rendered, as they were

less than satisfactory. Plaintiff avers that the defendants took umbrage to his complaint

and proceeded to place a telephone call, to which law enforcement responded, namely

J.R. Cullen, #2509, Montgomery Police Department:. At all times material hereto, J.R.
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Cullen, #2509, was acting within his capacity as a law enforcement officer with the City

of Montgomery Police Department and was performing a ministerial duty as opposed to a

discretionary function. Plaintiff avers that Officer Cullen was acting under color of State

law, statute, ordinance, regulation, custom or usage. Defendant Cullen proceeded to

effectuate a warrantless arrest of the plaintiff, charging the plaintiff with public

intoxication. Plaintiff denies that he was publicly intoxicated. To the contrary, plaintiff

avers that Defendant Cullen arrested him after the plaintiff admonished him about his

manner of speech and use of profanity. Plaintiff denies that the employees, agents,

and/or servants of the Waffle House made any representation to Officer Cullen that he

was public intoxicated.

        8.      Plaintiff avers that as a direct and proximate cause of the actions of the

defendant Cullen, he was assaulted, battered, falsely arrested, falsely imprisoned and

maliciously prosecuted.

        96 The plaintiff avers that as a direct and proximate cause of the actions of

the defendants he was caused to suffer a gross violation and deprivation of civil rights,

privileges and/or immunities guaranteed and secured unto him by the Constitution -and

laws of the United States and the State of Alabama.

        10. The plaintiff avers that he has had a stellar career as law enforcement

officer for the City of New York, (NYPD), and at all times material hereto, he was in

retired status as an officer of NYPD.

                                              COUNT I
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        Plaintiff avers that Defendant Cullen, acting under Gestapo tactics and pretenses,

subjected him to unlawful arrest, false imprisonment, malicious prosecution, assault and

battery, and the use of excessive force.

        11.     Plaintiff avers that Defendant Cullen had no probable cause to believe that

he was engaged in any criminal conduct.

        12.     Plaintiff avers that at all times material hereto, the defendants actions was

in accordance with a policy, custom and practices of race discrimination and racial

profiling of African-Americans, including, but not limited to, the plaintiff and his arrest

and prosecution was solely the product of racial profiling and overt discrimination on the

basis of the plaintiff's race. Indeed, plaintiff avers that the City of Montgomery has a

history dating back many years to the present, of engaging in acts of the use of excessive

force, engaging in acts of police brutality and even violating the rights of African-

Americans relative to the criminal justice System and particularly the administration of

justice by the City of Montgomery Municipal Court. Relative to the foregoing, the

plaintiff avers that the Court can take judicial notice of the following litigation filed with

the United States District Court for the Middle District of             Bernard Whiteshurst

case against the City of Montgomery, (police brutality and civil rights violation);

Gregory Gunn v. City of Montgomery, (police brutality and civil rights violation); Todd

Road case (alleging involving police brutality); and Harriet Cleveland v. City of

Montgomery, et al. (City of Montgomery's Municipal Court operating a modem day

debtors' prison, incarcerating low income and a disproportionate amount of African

Americans for the inability to pay court costs and fines).
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        13.    Plaintiff avers that the actions of Defendant Cullen amounts to false

imprisonment, racial profiling, and unlawful search and seizure, in violation of rights

secured and guaranteed to the plaintiff by the Constitution and laws of the United States

of America and the laws of the State of Alabama.

        14.    Plaintiff avers that the actions of Defendant Cullen were conducted in bad

faith, maliciously, willfully, illegally, fraudulently and beyond his lawful authority.

        15.    Plaintiff avers that the actions of Defendant Cullen violated clearly

established law.

        16.    Defendant Cullen's action violated the plaintiffs' rights under the Fourth

Amendment of the United States Constitution, to be secure and protected from

unreasonable searches and seizures, the Fourteenth Amendment relative to Equal

Protection of the law and the First Amendment's Free Speech

        17.    The actions of Defendant Cullen were done under color of state law,

ordinance, statute, or regulation, in deprivation of rights secured and guaranteed to the

plaintiffs by the Constitution and laws of the United States, as guaranteed by the First,

Fourth and Fourteenth Amendments and enforced by Title 42 U.S.C. § 1983.

        18.    Plaintiff avers that he has suffered damages as a direct and proximate

result of the actions of defendants Cullen and the City of Montgomery.

       WHEREFORE, PREMISES CONSIDERED, the plaintiff demands judgment

against the defendant Cullen and the City of Montgomery, separately and severally and

seek damages for said deprivation of rights in an amount that the trier of fact may assess,

plus interest and costs. Further, pursuant to Title 42 U.S.C. § 1988, plaintiff seeks to

recover his costs and attorney's fees for bringing this action,
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                                             COUNT H


        MUNICIPAL TORT LIABILITY, ALA. CODE 1975, § 1147-190

        Plaintiff incorporates all the allegations contained in paragraphs one (1) through

eighteen (18) of this complaint, and will further show unto this Honorable Court to-wit:

        19.     Plaintiff avers that Defendant Cullen acted negligently, carelessly and/or

unskillfully when he arrested the plaintiff without probable cause.

        20.     Plaintiff avers that at all times material hereto, Defendant Cullen were

employees of the City of Montgomery and a law enforcement officer, acting within the

line and scope of his employment. The City of Montgomery was negligent in its training

and supervision of officers, including, but not limited to, Officer Cullen engaging in so-

called "routine patrol" on private premises, including, but not limited to, proper training

and supervision in diversity, community policing, and racial profiling in executing theor

police duties and responsibilities.

        WHEREFORE, PREMISES CONSIDERED, plaintiff demands judgment

against Defendant City of Montgomery, pursuant to Ala. Code 1975, § 11-47-190, in an

amount that the trier of fact may assess, plus interest and costs.

                                            COUNT Ill

                 NEGLIGENT HIRING, TRAINING, MONITORING,
                          ENTRUSTMENTAND SUPERVISION
 Plaintiff incorporates all the allegations contained in paragraphs one (1) through twenty

      (20) of this complaint, and will further show unto this Honorable Court to-wit:

        21.     Plaintiff avers that the actions of defendant City of Montgomery was

negligent relative the hiring, training, supervision, monitoring of it employees within the
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City of Montgomery Police Department, including, but not limited to, Officer Cullen and

others engaged law enforcement and community policing.

          22.   The plaintiff avers that the actions of the defendant City of Montgomery

caused him to suffer deprivation of civil rights and other physical and emotional injuries.

         23.    As a direct and proximate result of defendants' negligence as articulated

above, the plaintiff avers that he has suffered damages for which he seeks redress.

WHEREFORE, PREMISES CONSIDERED, the plaintiff demands judgment against

the defendants, separately and severally and seek damages, compensatory and punitive in

an amount that the trier of fact may assess, plus interest and litigation costs and expenses.

                                             COURT IV

                                       FALSE IMPRISONMENT

         Plaintiff incorporates all the allegations contained in paragraphs one (1) through

twenty-three (23) of this complaint, and will further show unto this Honorable Court to-

wit:

         24.    Plaintiff avers that the actions of Defendant Cullen subjected the plaintiff

to unlawful detention, without probable cause and thereby depriving him of his liberty

         25.    Defendant CUllen's detention of the plaintiff was not pursuant to any legal

         cause or process and without justification.

         26.    As a direct and proximate result of defendant's interference with the

plaintiff's persons and deprivation of their liberty, the plaintiff has suffered damages for

which Alabama law provides a cause of action for false imprisonment as set forth in Ala.

Code, 1975 § 6-5-170.

         WHEREFORE, PREMISES CONSIDERED, plaintiff demands judgment
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against the defendants Cullen and the City of Montgomery in an amount that the trier of

fact may assess, plus interest and costs.

                                              COUNT V

              INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

       Plaintiff adopts by reference, and incorporates in this cause of action, the

allegations of paragraph one (1) through twenty-six (26) of this complaint, as if the same

were fully set forth herein and further say as follows:

       27.     Plaintiff avers that the actions of the defendants as complained of herein

was so extreme and outrageous, so as to intentionally and/or recklessly cause severe

emotional distress to the plaintiff. Plaintiff further alleges that defendants' actions Was so

outrageous in character and so extreme in degree as to go beyond all possible bounds of

decency, and to be regarded as atrocious and utterly intolerable in a civilized society.

WHEREFORE, PREMISES CONSIDERED, plaintiff demands judgment against the

defendants separately and severally in an amount that the trier of fact may assess, plus

interest and litigation costs and expenses.

                                              COUNT VI

                              MALICIOUS PROSECUTION

       Plaintiff adopts by reference, and incorporates in this cause of action, the

allegations of paragraph one (1) through twenty-seven (27) of this complaint, as if the

same were fully set forth herein and further say as follows:

        28.     The plaintiff avers that the defendant J R Cullen arrested and subjected the

plaintiff to prosecution on allegations of public intoxication. The Plaintiff denies that he

was guilty of public intoxication and he has not been adjudicated guilty of the same.
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       WHEREFORE, PREMISES CONSIDERED, plaintiff demands judgment

against Defendant Cullen, separately and in an amount that the trier of fact may assess,

plus interest and litigation costs and expenses.

                                            COUNT VII

                                      CONVERSION

       Plaintiff adopts by reference, and incorporates in this cause of action, the

allegations of paragraph one (1) through twenty-eight (28) of this complaint, as if the

same were fully set forth herein and further say as follows:

       29. The plaintiff avers that the defendant J R Cullen arrested and subjected the

plaintiff to confinement and false imprisonment in the City of Montgomery Detention

Facility (Montgomery City Jail) on allegations of public intoxication. The Plaintiff

denies that he was guilty of public intoxication and he has not been adjudicated guilty of

the same. The plaintiff avers that as a result of his arrest and imprisonment, the

defendants took possession of his personal property, among them bona fide United States

currency. The plaintiff avers that the defendants converted to their own use, his United

States currency, to wit: $540.00

       WHEREFORE, PREMISES CONSIDERED, plaintiff demands judgment

against Defendant Cullen and the City of Montgomery, jointly and severally and in an

amount that the trier of fact may assess, plus interest and litigation costs and expenses.

                                       Respectfully submitted,


                                                              mmft ^CAlmardePits
                                             o esley Pitters, Esquire
                                       Counsel for the Plaintiff -
                                       Attorney Bar Code: 8998-T64A
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                   PLAINTIFF DEMANDS A TRIAL BY JURY.
